
Mr. Justice Frantz
specially concurring:
I subscribe to all that is said in the majority opinion. *38But the majority opinion, in my view, does not go far enough; it answers only one question. I would resolve the issue raised by plaintiffs in error: Was the Brighton Blade a newspaper of “general circulation” within the meaning of the applicable statute?
C.R.S. ’53, 89-12-2(6), provides for “three consecutive weekly publications in at least one newspaper of general circulation in the district.” The determination of whether a newspaper is one of general circulation is ordinarily a question of fact. Board of County Comm’rs v. Greensburg Times, 215 Ind. 471, 19 N.E.2d 459.
In order to be a newspaper of general circulation, certain tests must be met. Perhaps the best definitive statement appears in the case of Burak v. Ditson, 209 Iowa 926, 229 N.W. 227, 68 A.L.R. 538:
“A study of the decisions bearing on the question before us suggests the following criteria: First, that a newspaper of general circulation is not determined by the number of its subscribers, but by the diversity of its subscribers. Second, that, even though a newspaper is of particular interest to a particular class of persons, yet, if it contains news of a general character and interest to the community, although the news may be limited in amount, it qualifies as a newspaper of ‘general circulation.’ ”
The last cited case was approved in Eisenberg v. Wabash, 355 Ill. 495, 189 N.E. 301, and the language quoted was adopted in the case of State v. Board of County Comm’rs, 106 Mont. 251, 76 P.2d 648. Not as incandescently clear but containing the substance of the Burak tests is the definition given in In Re House Resolution, 50 Colo. 71, 114 Pac. 293.
